Case 2:23-cv-08395-CBM-KS Document 15-13 Filed 01/17/24 Page 1 of 2 Page ID #:180


   1   KILPATRICK TOWNSEND & STOCKTON LLP
       JONATHAN W. THOMAS (Pro Hac Vice submitted)
   2   jwthomas@ktslaw.com
   3   The Grace Building
       1114 Avenue of the Americas
   4   New York, NY 10036
       Telephone: 212-775-8700
   5   Facsimile: 212-775-8800
   6   DANIEL E. GAITAN (CA Bar No. 326413)
   7   dgaitan@ktslaw.com
       1801 Century Park East Suite 2300
   8   Los Angeles, CA 90067
       Telephone: 310-248-3830
   9   Facsimile: 310-860-0363
  10
       Attorneys for all Defendants
  11
                              UNITED STATES DISTRICT COURT
  12
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
  13
  14
       TRADER JOE’S COMPANY, a                     Case No. 2:23-cv-08395-CBM (KSx)
  15   California corporation,                     Judge: Hon. Consuelo B. Marshall
  16                 Plaintiff,
  17                                               [PROPOSED] ORDER GRANTING
             v.                                    DEFENDANTS’ MOTION TO
  18                                               DISMISS COMPLAINT PURSUANT
       JOEMART LTD D/B/A TRADER                    TO FEDERAL RULE OF CIVIL
  19   JOE, a corporation of the British Virgin    PROCEDURE 12(B)(6) AND
       Islands; SOJ TRADING LTD D/B/A              GRANTING DEFENDANTS’
  20   JOEPEGS, a corporation of the British       REQUEST FOR JUDICIAL NOTICE
  21   Virgin Islands; CHENG CHIEH LIU,
       an individual; and DOES 1-10,               Date:       February 27, 2024
  22                                               Time:       10:00 am P.T.
                     Defendants.                   Courtroom.: 8D
  23
  24
                                                   Complaint Filed: October 5, 2023
  25
  26
  27
  28


                  [PROPOSED] ORDER GRANTING DEFENDANTS MOTION TO DISMISS COMPLAINT
Case 2:23-cv-08395-CBM-KS Document 15-13 Filed 01/17/24 Page 2 of 2 Page ID #:181


   1         Before the Court is the Motion to Dismiss Plaintiffs Trade Joe’s Company’s
   2   (“Plaintiffs”) Complaint (Dkt. 1), pursuant to Rule 12(b)(6) of the Federal Rules of
   3   Civil Procedure, filed by Defendant Joemart Ltd, Defendant SOJ Trading Ltd, and
   4   Defendant Cheng Chieh Liu (collectively, “Defendants”). Defendants seeks dismissal
   5   of Plaintiff’s Complaint, in its entirety, without leave to amend.
   6         After reviewing the moving, opposition, and reply papers, and after performing
   7   a detailed review of the law on exhaustion of administrative remedies, it is hereby
   8   ordered:
   9
  10       1. Defendants’ Request for Judicial Notice is GRANTED.
  11
  12       2. Defendants’ Motion to Dismiss is hereby GRANTED. Plaintiff’s Complaint
  13          is dismissed in its entirety, with prejudice, for failure to state a claim upon
  14          which relief can be granted.
  15
  16
  17   DATED:
                                                     HON. CONSUELO B. MARSHALL
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

       [PROPOSED] ORDER GRANTING DEFENDANTS MOTION TO DISMISS COMPLAINT            -1-
       CASE NO. 3:23-CV-08395-CBM (SKX)
